                                                                             LAW DEPARTMENT
                                                                             One Parkway
                    CITY OF PHILADELPHIA                                     1515 Arch Street
                                                                             Philadelphia, PA 19102-1595



                                                                             RENEE GARCIA
                                                                             Acting Philadelphia City
                                                                             Solicitor
                                                                             (215) 683-5003
                                                                             renee.garcia@phila.gov

                                                                             KATHRYN FARIS
                                                                             Senior Attorney
                                                                             Civil Rights Unit
                                                                             (215) 683-5445
                                                                             kathryn.faris@phila.gov


                                                                      January 5, 2024
Via email
Hon. Juan R. Sánchez
Chief Judge
United States District Court
8613 United States Courthouse
601 Market Street
Philadelphia, PA 19106
Chambers_of_Chief_Judge_Sanchez@paed.uscourts.gov

       Re:     Requested Consolidation of Remaining NFU Cases for the Limited
               Purpose of Case Management Coordination

Dear Judge Sánchez,

        I write on behalf of all defendants, pursuant to local Rule 42.1, to request that the cases
identified in the attached chart be referred to a Magistrate Judge for the purpose of managing
discovery. While the rule contemplates “consolidation” of matters, the purpose of this requested
referral is to encourage the efficient completion of discovery in all of the referred matters, most of
which involve the same defendants. I have consulted counsel for all defendants and Mr. Walker,
who represents himself in this litigation, and have included with this request their position
regarding the City’s request to consolidate the remaining cases for the limited purpose of
coordinating the case management schedules to allow individual discovery in each case on a
rolling basis.

       By way of brief background, all of these cases generally allege that some members of the
Narcotics Field Unit violated the plaintiffs’ constitutional rights and that the individual defendants
and City of Philadelphia are responsible for this alleged harm. The matters are colloquially referred
to as “NFU Cases.” The identified cases were previously marked as related to McIntyre v.
Liciardello, et al., 13-2773, over which the Honorable Paul S. Diamond presided. Judge Diamond
ordered the Plaintiffs in those matters to select six bellwether cases and stayed the remaining cases
during the litigation of the bellwethers. Three of the bellwether cases settled. Two went to trial,
Hon. Juan R. Sánchez
Page 2 of 3


Mitchell v. City of Philadelphia, et al. (No. 14-6356) and Torain v. City of Philadelphia, et al. (No.
14-1643), where the juries reached and returned a full defense verdict. The third bellwether case,
Mills v. City of Philadelphia, et al. (14-593), has both of the City’s dispositive and Daubert
motions still pending. The summary judgment motions filed by several of the individual
defendants in Mills were granted.

        On November 15, 2023 Judge Diamond lifted the stay for the remaining non-bellwether
matters and ordered that the cases be randomly assigned for trial purposes. Because many of those
matters resolved while in stay, the City conducted an inventory of the remaining cases and has
determined that, as of the writing of this letter, 44 cases remain. Thirty-four of these matters are
identified in the attached list, which, pursuant to Local Rule 42.1,(1)(a) includes the docket name,
number, counsel, and assigned jurist. Consistent with the requirement that this application must
identify whether all parties support consolidation, Id. at (1)(b), the list is also annotated with the
position of Plaintiffs’ counsel. Deferring to the expressed preferences of several judges at
conferences, ten of these matters have not been submitted with this referral request.

         The City respectfully submits that limited consolidation for coordinated discovery is
warranted because of the extent to which each of the cases will require the appearance and
deposition of a discrete number of individual defendants. While the majority of the cases will rely
upon the Monell discovery conducted during the McIntyre litigation, the discovery for the
individual claims have not yet been conducted. It is also possible that limited Monell discovery
will be needed for some of these matters, whose issues were not fully captured by the timeframe
of the Monell discovery conducted in McIntyre. It is the position of the City and all individual
defendants including Mr. Walker, who represents himself in these matters, that the simultaneous
litigation of all claims on the same or similar deadlines would be unworkable given the time
required for deposition discovery in each case.

         Furthermore, the imposition of the stay and the agreed-upon bellwether structure has
weighed significantly more heavily on some plaintiffs than on others – the remaining cases were
filed between twelve and just two years ago. As a result, the City respectfully suggests that
coordination of discovery by a Magistrate Judge could be appropriately prioritized based on the
age of the filing. To that end, the City proposes that matters filed between 2011 through 2014 be
included in the first group of cases to go through discovery, followed by matters filed 2015 through
2016, followed by matters filed 2017 through 2019, and that all matters filed after 2020 be included
in the last group to go through discovery. As noted, the scope of this proposed consolidation would
be for discovery purposes only and, upon completion of discovery, matters could be reassigned to
the attached jurist for trial as needed.


       We thank the Court for its consideration of this application for consolidation.

                                                              Respectfully submitted,
Hon. Juan R. Sánchez
Page 3 of 3



                            /s/ Kathryn Faris
                            Kathryn Faris

Cc: all counsel of record
